Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 1 of 13 Page ID
                                #:11805



 1 BROWNE GEORGE ROSS LLP
   Keith J. Wesley (State Bar No. 229276)
 2  kwesley@bgrfirm.com
   Lori Sambol Brody (State Bar No. 150545)
 3  lbrody@bgrfirm.com
   Matthew L. Venezia (State Bar No. 313812)
 4   mvenezia@bgrfirm.com
   2121 Avenue of the Stars, Suite 2800
 5 Los Angeles, California 90067
   Telephone: (310) 274-7100
 6 Facsimile: (310) 275-5697
 7 Attorneys for Plaintiff and Counterdefendant
   Ironhawk Technologies, Inc.
 8
 9                         UNITED STATES DISTRICT COURT
10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12 IRONHAWK TECHNOLOGIES, INC.,                 Case No. 2:18-cv-01481-DDP-JEM
   a Delaware Corporation,
13
                                                MOTION IN LIMINE NO. 2
14              Plaintiff and                   REGARDING MICHEL (TUAN)
                Counterdefendant,               PHAM
15
         vs.
16                                              Judge: Hon. Dean D. Pregerson
   DROPBOX, INC., a Delaware                    Trial Date: October 22, 2019
17 corporation,                                 Final Pre-Trial Conf. : October 7, 2019
18
                Defendant and
19              Counterclaimant.
20
21
22
23
24
25
26
27
28
     1339261.1

                      MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 2 of 13 Page ID
                                #:11806



 1               PLEASE TAKE NOTICE that, on October 7, 2019 at 10:00 a.m., or as soon
 2 thereafter as it may be heard, in Courtroom 9C of the above-titled Court, located at
 3 350 West 1st Street, Los Angeles, California 90012, the Honorable Dean D.
 4 Pregerson presiding, plaintiff and counterdefendant Ironhawk Technologies, Inc.
 5 (“Ironhawk”) will, and hereby does, bring this Motion in Limine No. 2 to exclude
 6 Dr. Michel (Tuan) Pham’s (“Pham”) testimony concerning inadmissible third-party
 7 uses of “smart sync” and Dr. Pham’s opinion concerning whether Dropbox’s use of
 8 “Smart Sync” creates a likelihood of confusion with Ironhawk’s SmartSync® mark.
 9 (the “Motion”).
10               This Motion will be made pursuant to Rules 401, 402, 403, 602, 703, 801, and
11 802 of the Federal Rules of Evidence, and the additional authorities cited herein.
12 The Motion is based on the following grounds:
13               •     Pham is a marketing expert witness designated by Dropbox and lacks
14                     personal knowledge to testify as a percipient witness concenring
15                     purported third-party uses of “smart sync.”
16               •     Dropbox cannot use Pham as a vehicle to parrot otherwise inadmissible
17                     evidence of third-party use of “smart sync”—as demonstrated in
18                     Ironhawk’s Motion in Limine No. 1—to the jury under the guise of
19                     expert testimony.
20               •     Pham’s opinion that Dropbox’s use of “Smart Sync” is unlikely to
21                     cause a likelihood of confusion with Ironhawk’s SmartSync® mark
22                     invades the province of the Judge because Dr. Pham attempts to
23                     substitute his own judgment for which factors weigh on the likelihood
24                     of confusion, instead of considering the Sleekcraft factors. And because
25                     Pham did not consider the Sleekcraft factors, his opinion will not assist
26                     the jury.
27               The Motion is based on this Notice of Motion, the Memorandum of Points
28 and Authorities, the declaration of Matthew L. Venezia (“Venezia Decl.”), all
     1339261.1
                                                   -1-
                           MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 3 of 13 Page ID
                                #:11807



 1 documents filed in this case, and any other evidence and argument the Court may
 2 consider.
 3               The Motion is made following a L.R. 7-3 conference of counsel that occurred
 4 on September 9, 2019.
 5
 6 Dated: September 16, 2019                  BROWNE GEORGE ROSS LLP
 7                                               Keith J. Wesley
                                                 Lori Sambol Brody
 8                                               Matthew L. Venezia
 9
                                              By:        /s/Matthew L. Venezia
10                                                       Matthew L. Venezia
11                                            Attorneys for Plaintiff and Counterdefendant
                                              Ironhawk Technologies, Inc.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     1339261.1
                                                    -2-
                           MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 4 of 13 Page ID
                                #:11808



 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.            INTRODUCTION
 3               Dropbox presents Pham purportedly as a marketing expert witness but in
 4 reality to parrot the legal arguments of its attorneys. Ironhawk does not dispute
 5 Pham’s credentials as an academic in marketing, but those credentials do not allow
 6 Pham to substantiate asserted third-party use of “smart sync” for which he has no
 7 personal knowledge. Nor do those credentials allow Pham to substitute his own
 8 judgment as to whether customers are likely to be confused from a marketing or
 9 consumer psychology perspective for the Sleekcraft factors.
10               To begin, and subject to Ironhawk’s Motion in Limine No. 1, Dropbox asserts
11 that third-party use of “smart sync” variants weakens the SmartSync® mark. But
12 Dropbox drastically overstates the third-party use of “smart sync,” and as set forth in
13 Motion in Limine No. 1, Dropbox’s Google and trademark searches and website
14 screenshots are inadmissible to substantiate third-party use of “smart sync.” Having
15 not sought discovery from a single third-party purportedly using “smart sync,” and
16 left without any avenue to lay a foundation as to the nature and scope of any
17 purported third-party use of “smart sync,” Dropbox attempts to turn Pham into a fact
18 witness by having him testify concerning the nature and extent of third-party uses of
19 “smart sync,” as opposed to any opinion that he has reached.
20               Such testimony is not only improper—Pham has no personal knowledge aside
21 from his review of the same inadmissible hearsay evidence addressed in Motion in
22 Limine No.1—but highly prejudicial. That is, the alleged third-party uses of “smart
23 sync” identified by Pham are largely for products serving entirely different purposes
24 than SmartSync®, such as a clock synchronization system, skin cream, and waterfall
25 pool controller. It is no mistake that Dropbox thus attempts to assert vast third-party
26 use in summary form absent from any scrutiny of the purported individual uses.
27               Next, Pham reaches an opinion that “several factors render it unlikely that
28 Dropbox's use of Smart Sync will cause confusion with Ironhawk's [SmartSync®]
     1339261.1
                                                    -1-
                           MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 5 of 13 Page ID
                                #:11809



 1 mark or software in the marketplace.” But the factors considered by Pham are not
 2 consistent with the Sleekcraft factors to determine likelihood of confusion, and
 3 Pham’s opinion thus both misstates the law and invades the province of the Judge to
 4 instruct the jury on the law.
 5               Accordingly, Ironhawk respectfully requests that the Court grant the Motion.
 6 II.           EVIDENCE TO BE EXCLUDED
 7               Pham’s analysis discusses a number of purported third-party uses of “smart
 8 sync” variants disclosed by various Google and trademark searches. This evidence
 9 lacks foundation establishing its relevance and is hearsay, and should thus be
10 excluded. (Dkt. No. 97 (Pham Decl.), ¶¶ 16–27 & Exhs. 5–12.)
11               Pham’s analysis further reached an opinion on whether Dropbox’s use of
12 Smart Sync causes a likelihood of confusion. (Id. at ¶ 11.) This opinion is not based
13 upon the Sleekcraft factors, and thus misstates the law and should be excluded.
14 III.          ARGUMENT
15               A.    The Court May Exclude Pham’s Testimony Concerning Third-
16                     Party Use of “Smart Sync” and Likelihood of Confusion
17               “Although the Federal Rules of Evidence do not explicitly authorize a motion
18 in limine, the Supreme Court has held that trial judges are authorized to rule on
19 motions in limine pursuant to their authority to manage trials.” Copper Sands
20 Homeowners Ass’n, Inc. v. Copper Sands Realty, LLC, 2012 WL 960459, *1 (D.
21 Nev. Mar. 21, 2012), citing Luce v. United States, 469 U.S. 38, 41 n. 4 (1984).
22               “The purpose of a motion in limine is to ask the court to rule on evidentiary
23 issues in advance of trial . . ..” Dae Kon Kwon v. Costco Wholesale Corp., 2010
24 WL 571941, *3 (D. Haw. Feb. 17, 2010) citing Bradley v. Pittsburgh Bd. of Educ.,
25 913 F. 2d 1064, 1069 (3d Cir. 1990); Lee v. City of Columbus, Ohio, 2010 WL
26 333665, *1 (S.D. Ohio Jan. 21, 2010). “This serves to avoid the futile attempt of
27 ‘unring[ing] the bell’ when jurors have seen or heard inadmissible evidence, even
28 when stricken from the record.” Crane-McNab v. County of Merced, 2011 WL
     1339261.1
                                                    -2-
                           MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 6 of 13 Page ID
                                #:11810



 1 94424 (E.D. Cal. Jan. 11, 2011) citing Brodit v. Cambra, 350 F. 3d 985, 1004–05
 2 (9th Cir. 2003).
 3               “Motions in limine may also serve to save time by ruling on evidentiary
 4 disputes in advance, minimizing side-bar conferences and other disruptions at trial
 5 and potentially obviating the need to call certain witnesses.” Id. citing United States
 6 v. Tokash, 282 F. 3d 962, 968 (7th Cir. 2002). The Court is not limited to
 7 prohibiting the introduction of certain documents or information into evidence but
 8 may also prohibit any mention of the excluded evidence in opening statements,
 9 during trial, or in argument to the jury. Benedi v. McNeal-P.P.C., Inc., 66 F. 3d
10 1378, 1384 (4th Cir. 1995).
11               Expert testimony is admissible only if it is reliable and if it will assist the trier
12 of fact to understand the evidence or to determine a fact in issue. Daubert v. Merrell
13 Dow Pharms., Inc, 509 U.S. 579, 590–91 (1993). To meet its “gatekeeping” duties
14 under Rule 702, the district court must make a preliminary determination that the
15 expert’s testimony is reliable. Estate of Barabin v. AstenJohnson, Inc., 740 F.3d
16 457, 463 (9th Cir. 2014).
17               B.     Pham’s Anticipated Testimony Consists in Large Part of the
18                      Recitation of Inadmissible Third-Party Use Evidence
19               Pham’s expert report spends much time discussing his findings concerning
20 third-party use of “smart sync” variants returned from Google and trademark search
21 results. However, as set forth in Ironhawk’s Motion in Limine No. 1, such evidence
22 is inadmissible absent foundation establishing both the nature and extent of such
23 use.1 (Motion in Limine No. 1, III.B.–D.) Pham lacks personal knowledge to lay any
24 such foundation for alleged third-party use of “smart sync” variants. FED. R. EVID.
25 602 (“A witness may testify to a matter only if evidence is introduced sufficient to
26 support a finding that the witness has personal knowledge of the matter.”)
27
28   1
         To avoid repetition, Ironhawk hereby incorporates that briefing here.
     1339261.1
                                                      -3-
                            MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 7 of 13 Page ID
                                #:11811



 1               That is, Pham is not a percipient witness, he was instead designated by
 2 Dropbox as their marketing expert witness. The entirety of Pham’s understanding
 3 stems from his review of search results and product websites—Pham explained his
 4 review of USPTO search results as follows:
 5                     “I'll give you an example of the things I did. One of the
 6                     ones, if I recall correctly, was a garage door opener -- I'm
 7                     sorry. A bed. A hospital bed SmartSync. So I click on that,
 8                     I see this is applied for hospital bed. Did I look on the
 9                     website? I don't think I did for the hospital bed, but I did
10                     for others ones.”
11 (Venezia Decl., Exh. A (Pham Depo.), P. 59:12–19.) Indeed, when reviewing
12 Google search results, Pham never even personally reviewed the websites of certain
13 of the alleged third-party uses, instead relying upon third-party Global Business
14 Experts Group (“GBX”) to do so. (Dkt. No. 161-18 (“Pham Decl.), ¶ 3 (“I or
15 GBX—in which case I discussed GBX’s findings with GBX and relied on those
16 findings—reviewed the use on the user’s website, website archive, or independent
17 source[.]”).)
18               In other words, Pham—or in some case only a consultant at GBX—simply
19 reviewed the same inadmissible evidence Ironhawk moves to exclude in its Motion
20 in Limine No. 1. But, again, the existence of a website discussing a product named
21 with some variant of “smart sync” is insufficient to lay a proper foundation as to the
22 nature of the product and the extent of its use. Having Pham or GBX review such
23 sources does nothing to cure this evidentiary problem, it only exacerbates the
24 problem by adding an additional layer or two of hearsay.
25               C.    Dropbox Attempts to Use Pham as a Vehicle to Introduce
26                     Otherwise Inadmissible Evidence
27               Following the parties’ discussion of this Motion during the meet and confer
28 conference, Ironhawk anticipates that Dropbox will argue Pham can rely upon
     1339261.1
                                                    -4-
                           MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 8 of 13 Page ID
                                #:11812



 1 otherwise inadmissible evidence in forming his opinions, consistent with FED R.
 2 EVID. 703. However, FED R. EVID. 703 does not provide carte blanche to present
 3 inadmissible evidence to jury, providing, relevantly, as follows:
 4                     “If experts in the particular field would reasonably rely on
 5                     those kinds of facts or data in forming an opinion on the
 6                     subject, they need not be admissible for the opinion to be
 7                     admitted. But if the facts or data would otherwise be
 8                     inadmissible, the proponent of the opinion may disclose
 9                     them to the jury only if their probative value in helping the
10                     jury evaluate the opinion substantially outweighs their
11                     prejudicial effect.”
12 See also Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 136 (2d Cir. 2013) (“a
13 party cannot call an expert simply as a conduit for introducing hearsay under the
14 guise that the testifying expert used the hearsay as the basis of his testimony”)
15 (internal quotation omitted); Lakah v. UBS-AG, 996 F. Supp. 2d 250, 259 (S.D.N.Y.
16 2014) (“an expert may not introduce otherwise inadmissible hearsay into evidence at
17 trial by simply summarizing an investigation by others that is not part of the
18 record”) (internal quotations omitted).
19               Here, because the evidence concerning third-party use of “smart sync” is
20 otherwise inadmissible, Dropbox must demonstrate that the probative value of Pham
21 disclosing such evidence to the jury substantially outweighs the prejudicial effect.
22 That is simply not the case.
23               First, there is no probative value in Pham disclosing his search results to the
24 jury. That is, Pham argues that the number of uses of “smart sync” variants weakens
25 Ironhawk’s SmartSync® mark, and will presumably seek to make similar arguments
26 to the jury. (See, e.g., Dkt. No. 97, ¶ 21 (“Pham Decl.”) (“A brief Google search
27 uncovered 44 current and prior uses of "smart sync" as either a company or a
28 product name[.]”).) But to evaluate whether such use is relevant to the strength of
     1339261.1
                                                    -5-
                           MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 9 of 13 Page ID
                                #:11813



 1 the SmartSync® mark, the nature of the use must be considered. See, e.g., Rearden
 2 LLC v. Rearden Commerce, Inc., 683 F.3d 1190, 1211 (9th Cir. 2012) (agreeing
 3 with district court’s rejection of argument that appellants’ marks were weak because
 4 over 840 different companies used the mark or some variation thereof because only
 5 four of those entities were in the plaintiff’s industry).2 And again, Pham simply
 6 cannot provide that background to the jury.
 7               Next, Pham disclosing his search results to the jury would be highly
 8 prejudicial to Ironhawk. Dropbox vastly overstates the third-party use of “smart
 9 sync” by including clearly unrelated products such as a clock synchronization
10 system, skin cream, and waterfall pool controller in its summaries. (Dkt. 97-7 (Pham
11 Decl., Exh. 8).) Thus, it is no accident that Dropbox seeks to introduce evidence of
12 third-party use through an expert witness without personal knowledge, depriving the
13 jury of important details, and Ironhawk of the ability to cross-examine those with
14 actual knowledge.
15               Dropbox could have sought discovery from the companies it believes sell
16 products in the data management industry with names that are variations of “smart
17 sync.” But Dropbox chose not to do so, not deposing, sending a discovery request
18 to, or identifying on its witness list a single party purportedly selling a product using
19 a “smart sync” variant. (Venezia Decl., ¶ 2.) This decision was presumably not
20 made because Dropbox or its highly-compensated attorneys were careless, but
21 because Dropbox’s claims of third-party use would crumble under examination
22 where the cited products are not widely distributed or in the same industry as
23 SmartSync®.
24               D.    Pham’s Opinion Concerning Likelihood of Confusion Misstates the
25                     Law and Invades the Province of the Judge
26               Opinion testimony that appears to define the applicable legal standard is
27
     2
       This matter is briefed in full, and additional authorities are discussed, in
28
     Ironhawk’s Motion in Limine No. 1.
     1339261.1
                                                   -6-
                           MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 10 of 13 Page ID
                                 #:11814



  1 inappropriate and properly precluded as it “usurp[s] the province of the judge.”
  2 Burkhart v. Washington Metro. Area Transit Auth., 112 F.3d 1207, 1212 (D.C. Cir.
  3 1997); Specht v. Jensen, 853 F.2d 805, 807 (10th Cir. 1988); Shahid v. City of
  4 Detroit, 889 F2d 1543, 1547 (6th Cir. 1989). Thus, where an expert’s testimony
  5 conflates his opinion with terms with legal meaning, such testimony should be
  6 precluded. See, e.g., Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051,
  7 1058–1059 (9th Cir. 2008) (legal conclusion that defendant violated UCC misstated
  8 law and invaded province of the judge); United States v. Espino, 32 F.3d 253, 257
  9 (7th Cir. 1994) (expert testimony concerning whether conduct was “unlawful” and
 10 “willful” is objectionable because those terms “demand an understanding” of the
 11 law”).
 12               Here, the Ninth Circuit set forth its eight-factor legal test for determining
 13 likelihood of confusion in AMF Inc. v. Sleekcraft Boats, 599 F.2d 341 (1979)
 14 (“Sleekcraft”). Pham’s report opines that Dropbox’s use of Smart Sync is unlikely to
 15 cause confusion. In reaching such an opinion, Pham does not consider key
 16 Sleekcraft factors, such as the similarity of “Smart Sync” to the SmartSync®
 17 trademark, nor Ironhawk’s intentions to expand SmartSync®’s use in the
 18 commercial sector. Instead, Pham substitutes his judgment as a marketing academic
 19 for whether Dropbox’s use of Smart Sync is likely to cause confusion. (Venezia
 20 Decl., Exh. A (Pham Depo.), PP. 89:17–90:8 (“I'm not providing a legal opinion.
 21 I'm providing a marketing expert's opinion and a consumer psychology opinion on
 22 the issue of whether customers in this market could be confused or would be
 23 confused[.]”)
 24               But likelihood of confusion is a term with legal meaning—to be determined
 25 by the jury with a careful analysis of the Sleekcraft factors. Pham’s substitution of
 26 the factors he deems important based upon his marketing background is
 27 inappropriate and invades the province of the Judge to instruct the jury on the law.
 28 Further, because Pham’s opinion on likelihood of confusion was not reached in
      1339261.1
                                                      -7-
                             MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 11 of 13 Page ID
                                 #:11815



  1 consideration the Sleekcraft factors, it will not assist the jury:
  2                     “Q. In your report, are you attempting to give an opinion
  3                     on the test as outlined in the Sleekcraft case -- excuse me -
  4                     - the test for trademark infringement?
  5                     A. I'm not providing a direct test of that. I'm providing an
  6                     opinion that I know on some dimensions is -- could be
  7                     informing a court's performance of such test.”
  8 (Id. at P. 91:5–12.) Thus, having not based his opinion on the Sleekcraft factors,
  9 Pham should not be allowed to testify concerning his opinion on likelihood of
 10 confusion.
 11 IV.           CONCLUSION
 12               For the reasons set forth above, Ironhawk respectfully requests that this Court
 13 issue an order in limine instructing Dropbox and its counsel that Pham may not
 14 disclose to the jury the inadmissible evidence concerning third-party use of “smart
 15 sync.” This Court should further instruct Dropbox and its counsel that Pham may
 16 not opine upon whether Dropbox’s use of Smart Sync may cause a likelihood of
 17 confusion.
 18 Dated: September 16, 2019                   BROWNE GEORGE ROSS LLP
 19                                                Keith J. Wesley
                                                   Lori Sambol Brody
 20                                                Matthew L. Venezia
 21
                                                By:        /s/Matthew L. Venezia
 22                                                        Matthew L. Venezia
 23                                             Attorneys for Plaintiff and Counterdefendant
                                                Ironhawk Technologies, Inc.
 24
 25
 26
 27
 28
      1339261.1
                                                      -8-
                            MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 12 of 13 Page ID
                                 #:11816



  1                                   CERTIFICATE OF SERVICE
  2               I hereby certify that on this 16th day of September, 2019, I electronically filed
  3 the foregoing MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN)
  4 PHAM with the Clerk of the Court using the CM/ECF system which will send
  5 notification of such filing to the following:
  6                                           SERVICE LIST
  7                          Ironhawk Technologies, Inc. vs. Dropbox, Inc.
                           USDC CD CA Case No. 2:18-cv-01481-DDP(JEMx)
  8
  9          Jennifer Lee Taylor                              Attorneys for Defendant and
             Sabrina A. Larson                                Counterclaimant
 10          Esther Kim Chang                                 Dropbox, Inc.
             Nicolas T. Herrera
 11          Joyce Liou
             MORRISON & FOERSTER LLP
 12          425 Market Street
             San Francisco, California 94105
 13          Telephone: 415.268.7000
             Facsimile: 415.268.7522
 14          Email:       jtaylor@mofo.com
                   slarson@mofo.com
 15                echang@mofo.com
                   nherrera@mofo.com
 16                jliou@mofo.com
                   Dropbox_MoFo@mofo.com
 17
 18          Wendy J. Ray
             MORRISON & FOERSTER LLP
 19          707 Wilshire Boulevard
             Los Angeles, California 90017
 20          Telephone: 213.892.5200
             Facsimile: 213.892.5454
 21          Email:      wray@mofo.com
 22
             Nicholas Ham                                     Attorney for Third Parties
 23          MORRISON & FOERSTER LLP
             755 Page Mill Road
 24          Palo Alto, California 94304
             Telephone: 650.813.5600
 25          Facsimile: 650.494.0792
             E-mail:     nham@mofo.com
 26
 27
 28
      1339261.1
                                                     -9-
                            MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
Case 2:18-cv-01481-DDP-JEM Document 182 Filed 09/16/19 Page 13 of 13 Page ID
                                 #:11817



  1          Jeffrey M. Davidson                        Attorneys for Defendant and
             Matthew Q. Verdin                          Counterclaimant
  2          Rebecca A. Jacobs                          Dropbox, Inc.
             Clara J. Shin
  3          COVINGTON & BURLING LLP
             415 Mission Street, Suite 5400
  4          San Francisco, California 94105
             Telephone: 415-591-6000
  5          Facsimile: 415-591-6091
             E-mail:       jdavidson@cov.com
  6                        rjacobs@cov.com
                           cshin@cov.com
  7                        mverdin@cov.com
  8
  9
 10
 11
                                                Andrea A. Augustine
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
      1339261.1
                                               -10-
                        MOTION IN LIMINE NO. 2 REGARDING MICHEL (TUAN) PHAM
